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                                                                                           F*tff3,ff#f%??t *,
                              LJNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 IN THE MATTER OF THE USE OF A
                                                    No. 3:23mj [otl]fsorl
 CELL-SITE SIMULATOR TO LOCATE
 THE CELLULAR DEVICES ASSIGNED
 CALL NUMBERS 475-321-1036 and203-
                                                    Filed Under Seal
 434-s964



    I, Michael Oppenheim, depose and state the following:

                      INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 4l to authorize law enforcement to employ an electronic investigative

technique, known as a Cell Site Simulator, which is described in Attachments B-1 and B-2, to

determine the location of the cellular device assigned call number 475-321-1036 ("Subject

Telephone 1"), which is described in Attachment A-1, and the cellular device assigned call

number 203-434-5964 ("Subject Telephone 2"), which is described in Attachment A-2

(collectively, the "Subject Telephones"), for the purpose of locating ANTWAN HILL and

NYZAIRE BARNES and executing currently pending arrest warrants.

       2.      The subscriber for Subject Telephone I is Roderick Hill, 175 Elaine Terrace, New

Haven, CT, and the service provider is Cellco Partnership dlbla Verizon Wireless, a wireless

telephone service provider headquartered at 180 Washington Valley Road, Bedminster, NJ 07921

(the "Service Provider"). As a provider of wireless communications service, the Service Provider

is a provider of an electronic communications service, as defined in I 8 U.S.C.
                                                                                  $ 25 l0(1 5). I believe

ANTWAN HILL is the primary user of Subject Telephone l.

       3.       The subscriber for Subject Telephone 2 is Nyzaire BARNES, 6 Savoy Street, Unit

E, Hamden, CT, and the service provider is AT&T, a wireless telephone service provider



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headquartered at 11760 U.S. Highway 1, North Palm Beach, FL 33408 (the "service Provider").

As a provider of wireless communications service, the Service Provider is a provider of an

electronic communications service, as defined in l8 U.S.C. $ 25 10( l5). I believe that NYZAIRE

BARNES is the primary user of Subject Telephone 2.

        4.     I am a Special Agent employed by the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF). As such, I am a law enforcement officer of the United States within the

meaning of Section 2510(7) of Title l8 of the United States Code; that is, an officer empowered

by law to conduct investigations of, and make arrests for, offenses enumerated in Section 2516 of

Title 18.

        5.     Prior to the ATF, I was employed by the United States District Court for the

Southern District of New York as a United States Probation Officer. I am a graduate of the

Criminal Investigator Training Program and the ATF SpecialAgent Basic Training program, both

of which are conducted at the Federal Law Enforcement Training Center in Glynn County,

Georgia. I hold a Bachelor of Arts Degree in Psychology from the University of Pennsylvania and

Master of Arts Degree in Organizational Psychology from Columbia University. The facts in this

affidavit come from my personal observations, my training and experience, and information

obtained from other agents and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant and does not set forth all of my knowledge

about this matter.

        6.     I have received specialized training in firearms identification and the investigation

of firearms-related offenses. I have participated in investigations involving the unlawful
possession of firearms by prohibited persons, including persons who are previously convicted

felons; the possession of firearms in funherance of the distribution of narcotics; and the use of




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firearms in the commission of violent acts. I have participated in investigations involving

individuals who unlawfully possess firearms, of individuals illegally selling firearms, and of

individuals distributing illegal drugs. As such, I have coordinated the controlled purchases of

illegal narcotics and participated in controlled purchases of firearms utilizing confidential sources,

cooperating witnesses and undercover law enforcement officers; written, obtained and coordinated

the execution of search and arrest warrants pertaining to individuals involved in the illegal

possession and distribution of firearms and narcotics; conducted electronic and physical

surveillance of individuals involved in illegal drug distribution; analyzedrecords documenting the

purchase and sale of firearms and illegal drugs; provided testimony, both in Grand Jury

proceedings and District Court proceedings; and spoken with informants and subjects, as well as

local, state and federal law enforcement officers, regarding the manner in which individuals obtain,

finance, store, manufacture, transport, and distribute their illegal firearms and drugs. In addition,

I have been involved in the investigation of street gangs, including gangs with a national presence

as well as locally based gangs. I have received training, both formal and on-the-job, in the

provisions of the federal firearms and narcotics laws administered under Titles 18,21 and26 of

the United States Code.

       7.      I have participated in this investigation and, as a result of my participation and

information received from other law enforcement officers, I am thoroughly familiar with the

circumstances of the investigation and the information set forth in this affidavit. The statements

contained in this affidavit are based on: (l) my personal participation in the investigation;

(2) information provided to me by Special Agents/Task Force Officers of the ATF, (3) my

experience and training.




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        8.     This affidavit includes only those facts which relate to the need for, and propriety

of, the requested authorization. This affidavit does not purport to set forth all of the facts gathered

during the course of the investigation of this matter.

        9.     Because these warrants for the prospective collection of information, including

cell-site location information, may fall within the statutory definitions of information collected by

a "pen register" and/or "trap and trace device," see 18 U.S.C. $ 3127(3) & (4), the requested

warrantsarealsodesignedtoalsocomplywiththePenRegisterAct.               See 18U.S.C.$$3121-3127.

The requested warrant therefore includes all the information required to be included in an order

pursuant to that statute. See 18 U.S.C. $ 3123(bXl).

        10. One of the purposes of applying forthese warrants is to determine with precision
the locations of the Subject Telephones. On July 27,2023,the Honorable S. Dave Vatti, U.S.

Magistrate Judge for the District of Connecticut, authorized awarrant for location data for Subject

Telephone 2,and on July 28,2023,the Honorable S. Dave Vatti authorizedawarrant for location

data for Subject Telephone 1. I served both Service Providers with the appropriate warrants and

determined that both Subject Telephones are pinging - that is, being located in - the greater New

Haven, CT area.

        ll.    On or about August 2,2023, a grand jury returned a superseding indictment

charging HILL, BARNES, and seven other individuals with RICO conspiracy, in violation of 18

U.S.C. $$ 1962(d) and 1963(a). Arrest warrants for HILL and BARNES issued the same day, and

law enforcement currently is affempting to locate HILL and BARNES forthe purpose of executing

those arrest warrants.

        12. While law enforcement continues to conduct surveillance at various times of the
day, and has, in fact, determined the primary residences for both HILL and BARNES (the users of




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the Subject Telephones), the location data provided by the Service Providers to date related to the

Subject Telephones has been insufficient on its own to reliably locate HILL and BARNES for

purposes of executing the arrest warrants. For example, the majority of the location data provided

for the Subject Telephones has occurred with an error range of over 3,000 meters - a circle that

encompasses entire neighborhoods in New Haven. The smallest error range radius is

approximately 593 meters - which also encompasses a large swath of land. Many of the pings

simply report back with no data, while the balance of the ranges are still over 1,000 meters.

        13. As part of this investigation, law enforcement has been receiving information about
members of the Exit 8 gang, including, but not limited to, BARNES and HILL, from a cooperating

witness (CW), who has provided information that has been corroborated by other sources and who

has testified before the grand jury pursuant to a grant of immunity. The CW has recently advised

that members, to include BARNES and HILL, are aware of the investigation into the gang and

believe they will be arrested soon.                        , this has made some members, to include

BARNES, make statements that the group should maximize their gang activities, such as shootings

and taunting opposition members, until if and when they get arrested. Many in the group agreed

in principle. The CW has indicated a belief that BARNES and HILL are currently in possession of

firearms, and within the past two weeks, BARNES sent a picture, via Subject Telephone 2, of his

three firearms to         . I have also observed a video which I believe to have been recorded

within the past week in which Exit 8 gang members, to include BARNES and Devin SUGGS an

Exit 8 member who also has been charged in the superseding indictment, can been seen

brandishing and displaying their firearms.

       14. Additionally,              recently advised me that many Exit 8 gang members, to

include BARNES and HILL, have recently began hanging out at locations either in the Tre section




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of New Haven (an area considered generally friendly to Exit 8) or within outdoor areas in Exit 8

late at night into the morning, such as until 5:00 a.m. or 6:00 a.m. While the data obtained from

the previously issued search warrant related to the Subject Telephones so far does show some late

night into morning activity, and, at times, general locations for BARNES and HILL apparently not

near their residences, the imprecision of the location data has hampered law enforcement's ability

to determine their locations in any meaningful way to allow for the execution of the arrest warrants.

                                      PROBABLE CAUSE

        15. The ATF and other federal and local law enforcement agencies are currently
investigating DEVIN SUGGS, a.k.a. "JB"; NYZAIRE BARNES, a.k.a. "Melo"; ANTWAN

HILL, a.k.a. "Bandz"; JAEDYN RIVERA, TYJON PRESTON, SAMUEL DOUGLAS, KIVEON

HYMAN, QUAYMAR SUGGS, DONELL ALLICK, and others, known and unknown, for

possible violations of the Title 18, United States Code, Section 1962(d) and 1963(a) (Racketeering

Conspiracy); Title 18, United States Code, Section 1959(a)(3), 1959(a)(5) and 1959(aX6) (VCAR

Assault with a Dangerous Weapon, VCAR Attempted Assault with a Dangerous Weapon, and

VCAR Attempted Murder);and Title 21, United States Code, Section $$ 8al(a)(1), 841(bX1XB),

84 I (bX I )(C), and 846 (Conspiracy to Distribute and to Possess with Intent to Distribute Fentanyl


and Cocaine) (hereafter referred to as the "Target Offenses").

       16. In an indictment returned on March 22, 2022, a federal grand jury charged
JAEDYN RIVERA, TYJON PRESTON, SAMUEL DOUGLAS, QUAYMAR SUGGS, KIVEON

HYMAN, and DONELL ALLICK with racketeering conspiracy, with specified overt acts in

furtherance of the enterprise including drug conspiracy; the June 16,2018 attempted murder of

Christopher Standberry; the January 24,2019 attempted murder of Marcus Lloyd; the July 14,

2020 attempted murder of Shavarius Smith.; the April 27,2021attempted murder of Robey Smith;

the May 3,2021 attempted murder of Jaime Middlebrook and Milton Lloyd; the May 10,2021


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attempted murder of Joseph Vereen; the May     ll, 2021 attempted murder of rival gang members;
the May 19,2021 murder of Tashawn Brown; the May 20,2021 attempted murder of rival gang

members; the May 20,2021 attempted murder of Kevin Kelly and Lawrence Deloatch; the June

30,2021 attempted murder of Damion Lofters; and the September 16,2021 murder of Kenneth

Cloud. See United States v. Rivera et a\.,3:23CR56(VAB).

        17. On August 2,2023, a federal grand jury returned a superseding indictment adding
DEVIN SUGGS, BARNES, and HILL as defendants and also enumerating additional overt acts

including the September 26, 2020 attempted murder of Kerwin Romero; the May 14, 2021

attempted murder of Charles Wearing; the May 17,2021attempted murder of rival gang members;

the May l9 , 2021 conspiracy to murder Tashawn Brown; the July 5, 2021 murder of Ciera Jones;

the August 29,2021attempted murder of Nathaniel Couvertier and Zaumarah Nunez; the March

16,2022 attempted murder of rival gang members; the April 12,2022 attempted murder of rival

gang members; the January 20,2023 theft of a black BMW from Scarsdale, New York; and the

January 20, 2023 attempted murder of Trayvon Hunter. Arrest warrants for DEVIN SUGGS,

BARNES and HILL were issued on August 2,2023.

                                        The Exit 8 Gane

       18. The Exit 8 gang is a local street gang named after the geographic area accessed by
exiting Interstate 9l at Exit 8 in New Haven, Connecticut. Members of this gang typically reside

in, or have previously resided in, this geographic area, which is often referred to as "the 8." The

area of Exit 8 includes several small housing projects off the Route 80 corridor, which are located

on two major thoroughfares, Eastern Street and Quinnipiac Avenue. In recent years, this area has

been riddled with shootings, murders, shots-fired incidents, and violent crimes. Members of Exit

8 have long-standing issues with other neighborhood gangs within the city, specifically gang

members from the Hill section of New Haven, dating back to 2014 and 2015, although violence


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has increased in recent years. Violence between these groups is retaliatory in nature, and members

of Exit 8 are believed to be responsible for a number of nonfatal and fatal shootings in the Hill

section of New Haven. Exit 8 has also been involved in a gang dispute with individuals associated

with the "G," known to investigators as the former Famam Courts Housing Complex located in

New Haven.

          19. Members of the Exit 8 group/gang identifii themselves by the numbers "S" and
0088,"
         and they often utilize the symbol of an eight ball. These symbols are found in social media

posts, on clothing, and in group members' tattoos, and they are used to show allegiance to the

group/gang. More recently, younger members of Exit 8 are identifying themselves with the word

"Honcho." This derives from the nickname of Dashown "Honcho" Myers (YOB 2001), an Exit 8

member who was murdered on February 23, 2020, on Quinnipiac Avenue and who has been

glorified posthumously by the group. This younger sect of the Exit 8 gang, which refers to itself

as the "Honcho Gang," is involved in firearms violence and the theft of motor vehicles.


          20. The below is a map providing a rough depiction of the territory controlled by the
Exit 8 gang.

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        21. Based on the investigation conducted to date, including but not limited to arrests of
and seizures made from gang members and associates; debriefings of arrestees, confidential

informants, cooperating defendants, and cooperating witnesses; examination of information

derived from cellphone extractions; and the review of social media, the investigation has revealed

that Exit 8 members have been involved in violence involving other rival gangs and that they often

shoot aVkill rival gang members.

       22. Amongst members of Exit 8, rival gang members are referred to as the "Opps" or
"opposition." Social media platforms-including Facebook, Snapchat, and Instagram-are used

by gang members on both sides to post pictures of themselves with narcotics, to promote their

gang, threaten rival gang members, incite violence, to celebrate acts of violence, reveal or

intimidate potential cooperators/witnesses, and to post pictures and videos of themselves posing

with firearms. Social media platforms are also used to coordinate narcotics sales, to sell and trade

firearms, and to plan and coordinate acts of violence. Shootings and murders raise the status of an

individual gang member within the group and further his reputation within the gang.

       23. Law enforcement has identified a number of shootings in New Haven that are
believed to be attributable to the Exit 8 gang, based on information gathered to date including

National Integrated Ballistic Information Network (NIBIN) information regarding a Ruger

LCP .380 firearm recovered on May 21, 2021, from Jaedyn RIVERA, and a 9mm firearm

recovered on August 12, 2021, from Exit 8 associate Rolando McKay known to have been used

by PRESTON and other Exit 8 gang members, and other firearms.

       24.     Several of the incidents alleged in the superseding indictment involving BARNES

and HILL are described in greater detail below. Although I am focusing on these incidents in this




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warrant, this is not a complete accounting of BARNES's or HILL's involvement in the Exit 8

gang, and the investigation is continuing into additional acts.

          September 26,2020, Attempted Murder of K.R.

          25.
            . During September 2020, PRESTON was driving a car and HILL was in the backseat

when they found an opposition gang member, K.R. (from the "G") near Roberto Clemente School in

New Haven. HILL tried to shoot K.R. from a few of feet away while in the car firing 5-7 shots but did

not succeed in hitting him. NHPD has confirmed this incident as a shots-fired incident on Kossuth

Street and Ann Street. The CW said that this attempted shooting was committed by HILL to fufther

his status in the gang by killing an opposition gang member.

          26.    On August 23,2022, the Honorable U.S. Magistrate Judge S. Dave Vatti, District

of Connecticut, authorized a search warrant for five Instagram accounts, to include Instagram

account ID # 31600710419, username "dropemjb," and Instagram account lD # 36371158552,

username "_getitgoin_." (see 3:22mj711[SDV]). Based on a detailed review of the accounts, as

well as other social media accounts and seized cellular telephones related to other Exit 8 gang

members, law enforcement determined that these accounts were used by Devin SUGGS. Also

authorized by the search warrant was Instagram account ID # 2999347973, username "Tj

frmthablock," which proved to be used by Tyjon PRESTON.

          27. From within one of Devin SUGGS' accounts, I observed alarge group chat, that
according to the data provided, spanned the time period from April 16,2021, through May 4,2021,

and included Devin SUGGS, Quaymar SUGGS, Antwan HILL, Nyzaire BARNES, Tyjon

PRESTON, Tyrone FELTON, Jose MOREL, Jaylon CROCKER, Ja'sean STEVENSON, and

others.

          28. During a portion of the conversation on May 4,2021, the following took place:

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    HILL:                Ok passitup

    HILL:                "Here take it"

    BARNES:              You should have a body rn

    BARNES:              U meady asFuck

    Q. SUGGS:            Damnnn

    HILL:                U don't even have attempted

    Q. SUGGS:            Oouuu

    BARNES:              Quay

    Q. SUGGS:            Yes melo

    HILL:                U don't have nun u shouldn't be able to talk

    BARNES:              Quay got better aim den u

    HILL:                Go do sum b4 u talk to me

    HILL:                Janiya u too

    [Deleted account]:   wow melo so yu sayin quay meady meady

    BARNES:              No

    BARNES:              He meady

    BARNES:              Bouta call u MB meady boy

    HILL:                U pass your pole u can't never talk to me ab anything

    Q. SUGGS:            To mb

    fDeleted account]:   trust me gang i wont b sliding out no v wit my blixk

    Q. SUGGS:            ?????


    HILL:                U saw da opps Nd passed your pole

    BARNES:              U missed 8 shots under 5 feet




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    BARNES:              That's sad

    HILL:                U was there?

    Q. SUGGS:            Guys stop talking like this in my grouper

    [Deleted account]:   hotttt

    [Deleted account]:   boyssss

    HILL:                U can't merch it was 5 feet

    HILL:                How many touches u got melo?

    [Deleted account]:   but stay someone federal look at yu cops

    BARNES:              Everybody said ya was on the side of him

    [Deleted account]:   sayin

    BARNES:              UNDER 5 FEET

    HILL:                Merch it



    BARNES:              COME ON MB STOP CAPPN

    HILL:                Merch it was 5 feet




    HILL:                Can't talk to me if u never did a drill worda eddie

    HILL                 ?


    BARNES:              Under 5 feet tho gang?

    HILL:                ?


    BARNES:              Smh



    BARNES:              FUCKING MEADY

    HILL:                How many touches do U have?



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        Q. SUGGS:              Don't matter how far he was he was right thereeeeee

        MOREL:                 oouuu melo big dawg now

        BARNES:                Y u miss?

        BARNES:                II!!I

        29.     Based on my training and experience and participation in this investigation, I

believe that in this portion of the conversation, the group was discussing the fact that HILL was

involved in a shooting and missed his intended victim(s) at a range of five feet. The conversation

grew argumentative, in that other gang members asked how many "touches" others had and said

that they should not be judging if they have not been involved in "touches." Based on my training,

experience, and involvement with this investigation, I know "touches" and also "drilling," which

is also used in this conversation, both refer to shooting someone. There are also messages related

to when one of the group has passed off or given up a "pole," which I also know to mean a firearm.

        30.     I have since learned through my investigation that this portion of the conversation

was specifically about the September 26,2020,incident wherein HILL attempted to shoot at K.R.,

but missed from close range. Because HILL and BARNES were "DMing," or sending private

messages on social media, in this case, via Instagram, and were speaking about an incident that

had happened, I believe that HILL and BARNES participated in this conversation using their

cellular devices.

        May 14, 2021, Attempted Murder of C.W.

        31.     On May 14,2021, at approximately 9:22 p.m., NHPD officers responded to 42

Kossuth Street (within the Hill section of New Haven, an area which is rival gang territory for the

Exit 8 gang) for the report of probable gunshots via the activation of ShotSpotter. Officers

subsequently located shooting victim C.W., who had been shot four times - twice in his left leg,



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and once each in his torso and right leg. Officers located six .380 caliber fired cartridge casings

(FCCs) on scene.

       32. After the incident, C.W. provided several accounts of what had occurred and was
largely uncooperative. In one sworn account, he advised that, on the night of incident, he was

leaving his uncle's house to go to a Jamaican restaurant when he was shot. C.W. testified that he

saw two masked individuals walking towards him on the same sidewalk. When he saw them, he

asked, "W'ho's that," but they did not respond. He believed both individuals shot at him because

he was later told that he had two different calibers of bullets in his body.

        33. Eyewitnesses reported hearing four or five gunshots and seeing C.W. on the ground
after he was shot. One of the witnesses drove C.W. to the hospital and provided sworn testimony

that he/she had previously overheard C.W. and his family members talking about the ongoing feud

between the Hill and Exit 8 gangs. The witness testified that C.W. told him/her thata white vehicle

had pulled up next to him and shot him. The witness came to believe that C.W. knew who shot

him, particularly as the witness had observed a white vehicle speed away from the scene.

        34. During a post-arrest interview on May 22,2021, discussed in more detail below,
RIVERA stated that that two people shot at "Chuck" (believed to be C.W.), one with the .380

caliber pistol that zuVERA was arrested with and one with a .38 caliber firearm.

       35. The previously referenced CW provided sworn testimony and advised that Devin
SUGGS and RIVERA had both told the CW that they had done this shooting. The CW indicated

that RIVERA had the .380 caliber pistol or a revolver at that time.




                    . For this shooting, RIVERA and Devin SUGGS had met up and went to the

Hill section of New Haven, where they saw C.W. RIVERA told the CW that they got out of the



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car, 'owalked up on Chuck," and shot him. Devin SUGGS told the CW that he was there, but that

he was not the shooter and had hung back. According to the CW, C.W. was shot for being

associated with the rival Hill gangs.

       36. NIBIN analysis revealed that the .380 FCCs recovered from this incident were fired
by the Ruger LCP .380 that was recovered on May 21, 2021, during the arrest of RIVERA and

Devin SUGGS, with Charles Phillips also present but apprehended at alater date. NIBN analysis

indicates that that this firearm also fired the FCCs recovered at six other Exit 8 shootings spanning

April 27 ,2021, through May 20,2021, many of which are charged in the superseding indictment.

       37. At the time of his arrest, as indicated above, law enforcement seized a cellular
telephone from Devin SUGGS; law enforcement obtained a state and then a federal search warrant

for the device. A review of Devin SUGGS' cell phone revealed multiple text messages related to

this incident. On May 14,2021, the day of the shooting, at7:13 p.m. RIVERA told Devin SUGGS

that he needed a driver when it got dark, then asked what "V" (vehicle) he had at7 15 p.m. Devin

SUGGS answered "Camry" at 8:18 p.m. Meanwhile, at7:48 p.m., "Step" asked Devin SUGGS

where he was. Devin SUGGS answered he was headed back to the "8," and then "Step" asked

what Devin SUGGS was doing and who he was with. Devin SUGGS answered, "park this up, Ds

got on us." Finally, at8:49 p.m., HILL asked Devin SUGGS who he was with, and Devin SUGGS

responded "Jae n tj" at 8:50 p.m., indicating he was with RIVERA and PRESTON. Three minutes

later, HILL asked if they could bring him to Hamden and, at 8:53 p.m. Devin SUGGS responded,

"igh hold on." This exchange leads me to believe that PRESTON may have also been present at

this attempted murder. Based on the proximity in time between the request to be brought to the

shooting location and the shooting, I believe that these individuals, to include HILL, SUGGS and




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PRESTON carried their phones during the incidents and there is probable cause to believe that

they always carry their phones when committing acts of violence.

        38. I am aware of Facebook Messenger messages sent by RIVERA beginning at
approximately 8:24 a.m. on May 20,2021 (aweek after the shooting). RIVERA taunted Facebook

user "Tyesha Ra'Nae," identified to be Tyesha Gardner, and took credit for shooting C.W.

RIVERA wrote Gardner, "lmk how ya bro doing too, 'gws' [get well soon]." Later, he says, "Shit

tell chuck get up, he know wassup," specifically referencing C.W. RIVERA then stated, "now I'm

telling you tell chuck I said gws," and Gardner responded, "He ALIVE shot 7 times and living G."

RIVERA's response, which I interpreted to be him taking credit for the shooting, was: ool know

how many times he got shot." I know from my training, experience, and involvement in this

investigation, that many Exit 8 gang members, to include RIVERA, have a pattern of

communicating with opposition members and their associates to taunt them and take credit for acts

of violence committed by Exit 8 members. Again, these communications show that Exit 8 gang

members including HILL and Devin SUGGS rely on their cellular devices to communicate and

discuss acts of violence.

       May 19, 2021,, Homicide of T.B.

       39. On or about May 19,2021, at 8:00 p.m., officers responded to the area of Ella T.
Grasso Boulevard and Stanley Street in response to a report of shots fired. ShotSpotter had

activated to three rounds at 70 Stanley Street and four rounds at l3l9 Ella T. Grasso Boulevard at

7:59 p.m. One victim, T.8., suffered a gunshot wound to his abdomen and ultimately died due to

his injury. Video surveillance showed a black sedan pull onto Stanley Street from Ella T. Grasso

Boulevard and park in front of 7l Stanley Street. The victim and three unidentified males exited

the black sedan and walked west toward the Boulevard. The males then stopped in front of 1307




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Ella T. Grasso Boulevard when a silver car drove north on the Boulevard and appeared to shoot in

their direction. The victim fell to the ground and the three other males ran back toward Stanley

Street.

          40. Witnesses also described a black Nissan Sentra parked in front of a white Lincoln
SUV at 7l Stanley Street. After the witnesses heard gunshots, three younger black males wearing

ski masks were seen running and entering the black Nissan Sentra and driving away. Other

witnesses stated that the male who was believed to have shot the victim was from the Exit 8 area.

          41. Officers located.380 FCCs on Ella T. Grasso Boulevard between Stanley Street
and Edgewood Avenue. NIBIN analysis of those FCCs indicated that two separate .380 firearms

were used in this shooting, one of which is linked to a number of other attempted murders

committed by Exit 8 gang members. Officers also located 9mm FCCs at this incident that were

linked to one murder and one attempted murder believed to be committed by Exit 8 gang members.

          42.   Law enforcement has interviewed an individual, who will be referred to herein as

Witness l, about this murder. Witness 1 stated that he/she was at Edgewood Park with his/her

family and extended family having a BBQ when A.G. and T.B. got into a physical altercation with

other young males to include known Exit 8 gang members, Quaymar SUGGS and Hector Delgado.

A.G. had previously had a problem with Quaymar SUGGS, as he had been jumped by Quaymar

SUGGS. Later that same date, Witness 1 stated he/she observed a black sports utility vehicle

(SUV) being driven by a black male, subsequently identified as HILL, and an Hispanic male,

subsequently identified as Delgado seated in the front passenger seat. Witness 1 was able to

identify these individuals. He/She said that Delgado exchanged words with Witness 1 and other

family members until the black sports utility vehicle finally left.




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        43. Another witness, referred to herein as Witness 2 said that he/she saw Quaymar
SUGGS shoot T.B. He/She also described the second shooter who was a man with braids, which

were described as either "Pop Smokes" or "ASAP Rocky" braids, shooting from the back

passenger window. Video surveillance confirms the witnesses' version of events as does a

Facebook live video obtained from a third witness, (hereinafter "Witness 3") of the fight and

barbeque prior to the shooting.

        44. Recently the CW advised ATF of the following: The T.B. homicide was a result
of the fight at the barbeque, as described by other witnesses. While three firearms were used in

the shooting, Quaymar SUGGS, armed with both a Glock (believed to be a 9mm) and a .380 caliber

Ruger later recovered from RIVERA on May 21,2021, was one of the shooters. PRESTON,

wielding the second .380 caliber pistol, was the other shooter. Two other people were in the

vehicle responsible for the shooting; Ja'sean STEVENSON and HILL.

        45. According to the CW, after the shooting, PRESTON, who was with Quaymar
SUGGS, STEVENSON, and HILL explained that they had "caught one," and appeared to be very

excited, and would not calm down. After the shooting, PRESTON and Quaymar SUGGS left town

for a while.

        46.    The witness statements described above indicate that HILL and QUAYMAR

SUGGS were present during the altercation, left the park, and then returned. The victim also had

left the immediate area of the altercation and returned on scene around the time of the shooting.

Based on my training and experience and participation in this investigation, I believe that for HILL,

QUAYI\4AR SUGGS, and PRESTON to come to the park soon after the altercation and locate the

victim, they likely received a cellphone communication that the victim was on scene, whether by

message or by call, which will be contained in the call log.




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        47   -   NIBIN analysis of the .380 FCCs discussed above indicated that they were fired by the

same firearm as the shell casings recovered from the other incidents. Officers also located another set

of .380 FCCs linked to an unrecovered firearm. The 9mm FCCs from this shooting were linked to one

shooting from 2020 and multiple Exit 8 incidents between May I 9, 2021, and July 5, 202 1 , including

a June 30,2021, attempted murder at 161 1st Avenue and the July 5, 2021, homicide of C.J. at 61

Truman Street.

        May 20, 2021 Attempted Murder of Rival Gang Members at 168 West Street

       48.       On May 20,2021, at approximately 2:14 p.m., ShotSpotter alerted to shots fired at

168 West Street in New Haven. Officers found twelve 9mm FCCs on the sidewalk in front of 174

West Street, as well as a mix of .380 and .45 caliber FCCs and a bullet fragment at the intersection

of Congress Avenue and West Street. Two witnesses said they heard gunshots but did not see

anything-one was a resident who lived nearby, the other was the owner of a vehicle that was

struck by gunfire.

        49. A camera at the Congress & West intersection captured some video footage of the
incident. The video shows a dark-colored BMW driving northeast on Congress, passing West

Street, and then abruptly pulling over to the right shoulder and parking. Two males immediately

exited the BMW and run toward the Congress & West intersection, out of view. One of the males

exited from the rear passenger-side door and appeared to be a Black male wearing a black mask,

white t-shirt, light-colored shorts, and dark-colored sneakers; this male appeared to be holding a

handgun in his right hand. The other male, who exited from the rear driver's-side door, appeared

to be a white or Hispanic male wearing a black mask, white t-shin, white pants, and white sneakers.

Shortly after the two men exited the frame, they reentered the frame running back to the BMW

and got back into the same rear side doors they exited from. The BMW then drove away on

Congress. The vehicle appeared to have an emblem or a sticker on the left side of the license plate.



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       50.     Soon after, a TFO who had reviewed the video footage saw a dark BMW with four

males in the car and with a distinct sticker or emblem on the left side of the rear plate driving in

New Haven. A registration query revealed that the car had been stolen from Fairfield. Law

enforcement attempted to stop the BMW at an intersection, but it eluded officers and drove

recklessly onto I-95 South, at which point, officers terminated pursuit.

       51. NHPD personnel who are familiar with gangs/groups in New Haven, and in
particular with members of Exit 8 and the Hill, later reviewed the footage from the shooting and

observed that the lighter-skinned male fit the description of RIVERA while the darker-skinned

male holding the handgun fit the description of PRESTON, based on previous encounters the

detective had with both RIVERA and PRESTON.

       52.      zuVERA and Devin SUGGS were apprehended by NHPD on May 2l,2021,with

the stolen BMW. During that incident, law enforcement recovered a loaded black Ruger LCP .380

handgun with serial number 372-35841, which was reporled stolen from Stratford in 2018, from

RIVERA and a black/brown FN .32 caliber handgun, serial #496172. The NIBIN analysis of the

Ruger recovered from RIVERA has been referenced above. RIVERA later spoke with law

enforcement on May 22, 2021, after signing and dating the NHPD's Miranda form and admitted

his involvement in the Congress & West shooting but would not provide the names of any other

individuals involved in the incident, however, he advised that a total of four people, himself and

three others were involved in this shooting, as well as second shooting that occurred later that

evening.

       53. NHPD personnel familiar with Exit 8 members later reviewed the footage from the
shooting and observed that the lighter-skinned male fit the description of RIVERA while the

darker-skinned male fit the description of PRESTON. Detectives then viewed RIVERA's




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Facebook, "Jae Honcho," and observed a photograph of RIVERA, PRESTON, and Devin SUGGS

that had been posted on May 20, following this shooting. RIVERA was wearing clothing that

matched the clothing worn by the light-skinned male from the surveillance video, and PRESTON

was wearing clothing that matched the clothing worn by the dark-skinned male in the video. Devin

SUGGS was wearing jeans and a white t-shirt that had a pattern in diagonal stripes across the shirt

and his hair was in braids. The caption to the photograph was, "Got the drop on Honchogang I

suggest you don't pull up." The detective also saw that RIVERA's Facebook stories had a video

of RIVERA and PRESTON sitting in the back of a moving car wearing clothing similar to the two

males seen in the video of the shooting. The BMW that was later recovered has the same color

interior as the car in this video. The videos were created at approximately 2:41 p.m. and 2:50 p.m.,

approximately half an hour after the shooting.

           54. As part of this investigation, ATF obtained a search warrant for RIVERA's
Snapchat account. A review of the account showed that RIVERA had created four videos from

approximately 4:38 p.m. through 5:38 p.m. The first video shows two people in the back of a

vehicle consistent with the recovered BMW, each wearing clothing matching that of the two

shooters. I believe the featured persons to be RIVERA and PRESTON. The second video appears

to be a truncated version of the first video. The third video, now within a residence, shows

Quaymar SUGGS in a mask and hooded sweatshirt apparently filming in selfie mode. Devin

SUGGS can be seen in the background with a firearm and a patterned white T-shirt which matches

the shirt he is wearing in RIVERA's Facebook post. RIVERA can also be seen sporting a white

T-shirt.

           55.   In the final video, RIVERA appears unmasked holding two black firearms, one with

a red laser. I believe that these two firearms are consistent with a .380 and a .45, which matches




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the FCCs found on scene. RIVERA is wearing the same white t-shirt as in the first and third videos.

In the background, Devin SUGGS is visible along with an individual with a black ski mask, white

t-shirt, and light-colored shorts, consistent with PRESTON and his clothing during the shooting.

       56. A review of Devin SUGGS' cell phone showed messages with a telephone number
ending in 8134, related to this shooting, wherein he appears to advise that he was with PRESTON,

Quaymar SUGGS, and RIVERA, and that they need a place to hide:

       5: l6  pm      8134:  How long u need to stop?
       5:16 pm        8134:  And who u wit
       5:16 pm        SUGGS: me tj quay n jae
       5:17 pm        8134:  And how Long u need to stop ?
       5:17 pm        SUGGS: I needa stay til it get dark
       5: I 7 pm      8134:  All y'all ?
       5:18 pm        SUGGS: Yea
       5:19 pm        8134:  Damn
       5:19 pm        8134:  Ight how long y'all could wait ?
       5:29 pm        SUGGS: Nvm
       5:29 pm        8134:  Ur annoying
       5:30 pm        8134:  Had me traveling back home for nothing
       5:33 pm        8134:  Should've said it was a rush
       5:33 pm        8134:  But Ight as long as y'all good and got somewhere to go
       5:33 pm        SUGGS: Wasn't tryna scare you
       5:39 pm        8134:  Nigga cf long as u not bringing me a body to hide then i
                                     wouldn't be scared .. and cf might not even be scared of
                                     that
       57.      Importantly, this exchange shows that Devin. SUGGS carries his telephone on his

person when engaging in acts of violence. It also shows that Exit 8 gang members including Devin

SUGGS, communicate over their cellular devices, and use same to coordinate, or, in this case,

attempt to evade law enforcement, using a cellular device.



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        58. Based on RIVERA's statements that there were four people involved in this
shooting, the social mediaposts and videos showing RIVERA, PRESTON, Quaymar SUGGS and

Devin SUGGS together after the shooting, the messages from Devin SUGGS wherein he says he

is with RIVERA, PRESTON and Quaymar SUGGS and in need of a hiding location until at least

dark, I believe that RIVERA and PRESTON were the shooters, and that Quaymar SUGGS or

Devin SUGGS was driver of the BMW, and that whoever was not driving was the front-seat

passenger.

        July 5,2021, Homicide of C.J.

        59. On or about July 5,2021, at2:42 p.m., ShotSpotter alerted to three shots fired at 73
Truman Street in New Haven. Upon arrival, officers located the victim on the walkway of 61

Truman Street suffering from a gunshot wound to the head. The victim later died due to her

injuries.

        60.    Surveillance cameras showed an SUV park on Clover Place west of Truman Street.

Two individuals exited the vehicle and walked to the corner of Clover Place and Truman Street.

Both individuals then began to shoot north on Truman Street, where the victim was located.

Additional surveillance footage captured a plate for the vehicle, which was determined to be a

Honda Pilot. A registration check indicated that the vehicle was stolen from Stratford. The Honda

Pilot was recovered later that day on Lenox Street in New Haven and was observed to have a

broken rear passenger side window as well as several FCCs inside the vehicle.

        61. Officers located seven FCCs on the southwest corner of Clover Place and Truman
Street and eight FCCs on the northwest comer of the same intersection, in the area where the two

men described above were shooting from. These FCCs included 9mm FCCs. NIBIN analysis of

the FCCs shows that the FCCs were fired from the same firearm as a number of other incidents




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known or suspected to have been committed by Exit 8 gang members during the summer of 2021,

including the murder of T.B. discussed above.

       62.     Investigators later learned that the Honda Pilot that the suspects had been driving

was equipped with a vehicle "infotainmenf'system that is Bluetooth compatible and that could be

linked to any of the vehicle's occupants' cellular phones or smart devices and utilized for

navigational or entertainment purposes. Investigators seized the infotainment system pursuant to

a state search warrant and determined that a device with the display name "iphone" had most

recently connected to the infotainment system on July 4,2021, at approximately 8:35 p.m.-the

evening before. MAC addresses are unique to a device and are typically established by the

manufacturer of the device, here, Apple. Records received from Apple revealed that the MAC

address that had connected to the infotainment system was linked to Google accounts associated

with BARNES. Investigators determined the telephone number associated with this account to be

203-893-6583. While this telephone number was subscribed to Paul Smith out of Greenville, NC,

I am aware that on August 8, 2020, BARNES sent an Instagram Direct Message in which he
provided this number to be his cellular telephone number. In addition, this device was listed under

the name of "Nyzaire Barnes" in information obtained from Apple. This information indicates to

me that BARNES was using his smart phone inside the stolen Honda Pilot around the time of the

homicide, and that his device may include other evidence of his involvement including location

information, communications, and other evidence.

       63. The CW provided swom testimony that PRESTON and HILL were responsible for
this homicide. PRESTON told            that PRESTON and HILL "walked down" on C.J. and shot

her. PRESTON also told             that he traded the Glock used in the murder to another Exit 8

associate, who observed that there was blood on the firearm. The gun used in the homicide was




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given to Nygere Evans and the CW described the firearm as having a green frame, gold barrel, and

a slotted slide. I also know that, pursuant to a search of PRESTON's telephone, on July 9,2021,

PRESTON searched for "how to clean blood off a gun" and "cleaning dried blood off a rifle."

Investigators believe that PRESTON may have cut his hand on the glass from the broken window

of the Honda Pilot.

        April 12,2022 Attempted Murder of Rival Gang Members

        64.     On April 12,2022, at approximztely 2:26 p.m. NHPD officers were dispatched to

the area of 36 Goffe Street, New Haven for a ShotSpotter activation that indicated five rounds

being fired. Officers quickly realized the incident occurred closer to 200 Goffe Street. A witness

reported that the offending vehicle was a white crossover style SUV, with four unknown

occupants, rear passengers having leaned out of the window and fired multiple shots in the

direction of the 200 Goffe Street apartments.

        65.    Officers subsequently located twenty-three FCCs on scene, and damage to the

building nearest to ApartmentE3T. A review of available video footage showed a white Toyota

Rav-4 traveling west on Goffe Street from Sperry Street at approximately 2:25 p.m. As the Rav-4

approached the E Building of 200 Goffe Street, the rear passenger windows of the Rav-4 lowered,

and two rear seat passengers hung out of the vehicle's windows, pointed firearms toward 200 Goffe

Street, and discharged them into the complex. The footage showed the Rav-4 then turning left onto

Orchard Street, headed south bound toward Whalley Avenue.

        66.    NHPD had been aware of a report of a stolen white Toyota Rav-4 bearing

Connecticut Registration # BD-96780, out of Wallingford, on or about March 28,2022. Officers

confirmed that, at the time of the shooting, the Toyota had not been recovered and was still listed

as stolen.




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       67. NHPD investigators contacted Toyota Customer Service who were able to provide
real time GPS pings for the stolen Rav-4. An officer located the vehicle parked at the Scott Ridge

Apartments, located at 425 Eastern Street, New Haven, Connecticut (within the heart of Exit 8's

territory) at approximately 6:29 p.m., however, law enforcement was not able to approach the

vehicle. Through following the vehicle and Toyota providing real-time location information,

officers subsequently observed the vehicle stop at the 7-Eleven located at 1795 Dixwell Avenue,

Hamden, for a brief time. Officers then followed and used the provided location information to

locate the vehicle parked in the parking lot of 184 Promenade Drive, Hamden, CT.

       68.     Officers conducted surveillance of the Toyota and at approximately 8:54 p.m., an

NHPD Sargent observed three males, later identified as BARNES, HILL, and Natquan Swan,

walking to the stolen Rav-4. Officers attempted to stop all three males, but all three immediately

began running through the complex. After a brief foot chase all three were apprehended and three

firearms, two PolymerSO PMFs and a Taurus, model G2S, 9mm pistol were recovered. Swan had

been in possession of the Taurus firearm, and tossed it along his way while being chased, and

investigators located it in the location that the pursuing officer had observed Swan re-adjusting his

pants while running. Cell phones were seized from HILL's, BARNES's, and Swan's person

incident to their arrest for possession of the firearms (again showing how Exit 8 gang members

regularly carry telephones on their person). HILL was in possession of one of the PMFs which

was fitted with a 50-round drum, and BARNES possessed the other PMF. Both were also arrested

for possession of firearms. Swan was later charged, via warrant, for the shooting in state court.

       69.      On April 13,2022, investigators went to the 7-Eleven located where the Rav-4 had

stopped on April 12,2022, to retrieve video footage of who was operating the Toyota Rav-4 at

that time. Upon reviewing the footage, investigators observed SWAN exit the driver side of the




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vehicle and HILL exit the passenger side of the vehicle. Both HILL and SWAN were wearing the

same clothing as during the shooting incident. It appeared that BARNES remained in the Rav-4

while stopped at the 7-Eleven.

        70.      Shortly after the incident, NHPD detective Greg Dash obtained state search

warrants for the cellular telephones recovered from HILL, SWAN, and BARNES, date limited to

April 1 1 & 12, 2022. As of this date, all three search warrants have been executed, but the only

device that has been successfully extracted was SWAN'S. I have reviewed data frorn SWAN's

device as part of this investigation.

        71. From within Swan's phone, I observed a conversation between Swan and "Jay,"
using telephone number (475) 254-1076 on April 12, 2022 (possibly truncated due to the state

search warrant being limited to April   ll 8. 12,2022). Based on this investigation, I know
telephone number (475) 254-1076, listed in Swan's phone as "Jay," to be used by Ja'sean

Stevenson, an active Exit 8 member. In the last captured message, Stevenson sent a screenshot of

an On Scene Media post related to the shooting at 200 Goffe Street.

        72. Along with the image sent, Stevenson asked Swan "This ya." While there is no
apparent response by Swan, it appears that Stevenson had some reason to suspect Swan of having

been involved in the incident. Again, this is an example of how Exit 8 gang members communicate

over their telephones and the conversation also suggests that they keep their cellular devices on

their person.

        73.     The firearms recovered from Swan and BARNES were linked to FCCs found at the

scene of the shootin g at 200 Goffe Street, discussed above. The firearm recovered from SWAN

also was linked to a shooting on December 23,2021.




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       74. The Rav-4 and the three firearms were swabbed for DNA and results are pending.
Eleven latent fingerprints were lifted from the Toyota Rav-4. Preliminary comparisons between

those prints and HILL's fingerprint card showed that HILL's prints matched alatentprint from

the driver's door above the handle. Based on my training and experience, and participation in this

investigation, I believe that evidence of this 200 Goffe Street attempted murder will be found, like

on SWAN's cellphone, on HILL's cellphone when it is accessed and reviewed.

       January 20,2023, Vehicle Theft and Attempted Murder of T.H.

       75.     On January 20,2023, at 12:39 p.m., Hamden Police responded to Mather Street

regarding the report of a Silver 2010 Nissan Altima that was chased and shot at by a Black BMW

SUV. New Haven Police received the same complaint involving the same two vehicles prior to

them traveling into Hamden. Surveillance video showed that the Black BMW appeared to have a

New York license plate and that it had chased the Silver 2010 Nissan Altima from New Haven to

Hamden.

       76.     Moments after the chase, the Silver Nissan was found unoccupied on Dixwell

Ave./Arch St. after being involved in a multi-vehicle collision. Twelve spent shell casings were

located on Mather Street. Numerous spent shell casings were also located in New Haven in the

area where the Nissan and BMW travelled prior to entering Hamden.

       77. Later that day, at approximately 2:00 p.ffi., o black2022 BMW SUV bearing New
York license plates was located in the parking lot of 140 Mill Street in East Haven, CT. The BMW

was reported stolen from the driveway of 4l Wynmor Road in Scarsdale, New York, on January

20,2023. The BMW was towed from the scene and later processed with permission from the owner

of the BMW. One spent shell casing was found on the exterior windshieldlhood area.




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        78.     An individual driving on the road at the time of the incident reported that a

projectile fired from the Black BMW SUV traveled through the front of his windshield and exited

the rear window, almost striking his head.

        79.     Hamden PD officers later learned that a gunshot victim, T.H., arrived at St.

Raphael's Hospital in New Haven for treatment. Medical staff advised that he had been struck in

the back of the head with a projectile. T.H. is known to be a gang member that is considered to be

in opposition to the Exit 8 gang.

        80.     T.H. spoke with officers at the hospital. He said that he had left a friend who lives

on Putnam Avenue in Hamden and began driving home in his silver Nissan Altima when he saw

a silver Honda CRV do a turn and a black BMW SUV started following him. The BMW continued


to follow him while shooting at him. T.H. believed that there were two or three males in the BMW.

After being shot and crashing the car, he began walking and was picked up and brought to the

hospital by a friend's father.

        81.     After the BMW, a black 2022X5 model, was reported stolen at 41 Wynmor Road

in Scarsdale, New York, a gray 2022 Honda Civic that had been stolen from West Haven,

Connecticut, was recovered in front of 8 Wynmor Road. This indicated that the people who stole

the BMW likely traveled to Scarsdale in the Honda Civic. Additionally, Ring doorbell footage was

recovered from the neighborhood in Scarsdale from which the BMW was stolen, which showed a

male figure appearing to attempt to steal another parked car in the area.

        82.      On January 20,2023, Ring doorbell footage also was obtained from 140 Mill

Street, Apt. 104 in East Haven, which showed that at I :31 p.m., after the attempted murder, a black

BMW was backed into a parking space. A tall, heavyset male, wearing a black, shiny, puffy jacket

with gray pants and light-colored sneakers then exited the operator's seat of the BMW. A shorter




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slim male wearing a black hooded sweatshirt, dark mask, light-colored gloves, and dark sneakers

exited the front passenger seat of the BMW. A female juvenile then exited the operator seat of the

Toyota, and the shorter male took her place in the driver's side door. The taller male then entered

the Toyota via the rear driver side passenger seat and the female entered the car on the rear

passenger side.

        83.       After responding to another stolen vehicle complaint, observing video footage of

the thefts, and apprehending an individual who was driving that stolen car, Hamden Police

determined that two juvenile females had stolen the Honda that was driven to Scarsdale from New

Haven. After several recorded interviews, the two females ultimately admiued to being friends

with "Spazz" and "Blitzz" and to picking them up in a Toyota Rav-4 on January 20,2023, after

the males parked the black BMW in the parking lot at 140 Mill Street in New Haven, Connecticut.

The second female, Juvenile 2, also said that the shorter of the two males had a firearm with a long

magazine on his person when he entered the driver's seat of the Toyota, and she provided her

telephone and signed a consent to search form.

       84.        From within Juvenile 2's telephone, law enforcement observed relevant Instagram

conversations between her and Devin SUGGS on the date in question, including one in which

Devin SUGGS said he was with J'Veil Outing at the time ofthe attempted murder. Juvenile 2then

admitted that Devin SUGGS was the male with the firearm who entered the driver's seat of the

Toyota Rav-4 on January 20,2023, and that Outing had been the other person with him.

       85.        On March 23,2023, Devin SUGGS was taken into custody on unrelated charges

and an audio/video interview was conducted. During that interview, he stated that he was at Wilbur

Cross High School on January 20,2023, did not go to New York, and was not in the black BMW.

Devin SUGGS did admit that he was friends with Outing and confirmed his Instagram profile.




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Hamden police checked records from the school and confirmed that Devin SUGGS was not in

attendance on the date in question.

        86.     Also on March 23, 2023, Outing was also interviewed after being arrested on

unrelated charges. Hamden Police seized his cellular telephone at that time, suspecting that it

contained possible evidence of both the theft of the BMW and the subsequent shooting of T.H.

        87.    During the interview, Outing admitted that he drove the stolen Honda Civic (that

the two juvenile females had stolen) to Scarsdale, New York, with Devin SUGGS, BARNES, and

others. Outing confessed that, once they reached New York, he had stolen the Black BMW SUV

and they all drove back to Connecticut in the BMW, leaving the Honda Civic behind. According

to Outing, they arrived back in Connecticut at approximately 5:00 a.m. and stopped in the Tre area

of New Haven. Outing said that SUGGS, BARNES and "Lil Dude" then entered a residence and

returned to the BMW with two firearms with long magazines. He claimed that he was dropped off

before any shooting. Shown the Ring doorbell footage from 140 Mill Street, Outing identified

himself as the party who exited the driver seat of the BMW and reported that Devin SUGGS was

the one who entered the front passenger seat. He claimed that he had been picked up by Devin

SUGGS just before and that Devin SUGGS seemed shaky and wanted Outing to drive. Outing

identified Devin SUGGS as the person standing in the BMW and shooting through the sunroof

from a still image made from surveillance video.

       88. Hamden Police investigators obtained state cell site search warrants for the
Outing's and SUGGS' phone, and the data shows that Outing and SUGGS were both in Scarsdale,

New York, at the exact time when the car was stolen within 100 meters of the car. They were both

also together the next day in New Haven right where the shooting started near Ashmun Street and




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T.H.'s residence before the shooting started. Both then either did not use, or disabled, their

telephones during the time of the car chase and shooting.

        89.    In addition to Outing's statements that the group that traveled to Scarsdale, New

York and stole the BMW, a Grand Jury witness testified that Outing, Devin SUGGS, Emerson

Harrington, and Exit 8 associate Jabari Newman went to New York to steal cars and picked up a

BMW with a "peanut butter" interior. The witness described the car as blue instead of black, but

all other statements made by the witness in relation to this incident appear to be accurate.

According to the witness, upon returning to Connecticut, the group picked up BARNES and then

Newman and Harington were dropped off. The witness testified that BARNES, Devin SUGGS,

and Outing continued driving the BMW and saw T.H. getting into a car. They followed him and

started shooting at him from New Haven to Hamden. T.H. was shot in the head. While the witness

was not present for the shooting, one of the participants told the witness immediately after the

shooting what had happened.

       90. Based upon all of the foregoing facts, as well as my training and experience and
that of other law enforcement personnel participating in this investigation, there is probable cause

to believe that HILL and BARNES are currently in possession of Subject Telephone I and

Subject Telephone 2, respectively. The requested information will be used to locate HILL and

BARNES for purposes of executing the currently pending arrest warrants.

       91.     Based on my training and experience, I am aware that persons who utilize cellular

telephones usually keep the cellphone on their physical person or within arms' reach. The CW

has recently advised that throughout July 2023, the CW continued to have regular contact with

HILL on Subject Telephone 1, and with BARNES on Subject Telephone 2. The CW has further

stated that HILL and BARNES carry their telephones on their person and regularly communicate




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with each other to plan Exit 8 gang activities and to coordinate acts of violence against opposition

members. As indicated above, I know that Subject Telephone 1 is subscribed to Roderick HILL,

whom I know to be HILL'S father, at an address believed to be HILL's residence. I also know

that Subject Telephone 2 is registered directly to BARNES.

        92. As indicated above, the Subject Telephones are being monitored by law
enforcement via pen registers. As of August 1,2023, the Subject Telephones continue to make

and receive calls and text messages. From the limited amount of data, I have observed a number

of calls from the Connecticut Department of Corrections - incarcerated persons, as well Exit 8

gang members and associates, to include Janiya Harvin-Kelly, Jarel DELGADO, Seny Toure, and

Nygere Evans. For the Subject Telephones, the majority of the indicated use is listed as data,

leading me to believe that, while the Subject Telephones are making a limited number of

traditional 2G calls and text messages, the Subject Telephones remain active most of the day,

with quiet periods which appear to be when BARNES and HILL are asleep.

                     Cell-Site Data and E-911 Phase IUGPS Location Data

        93. In my training and experience, I have learned that the Service Providers are
companies that provide cellular telephone access to the general public. I also know that providers

of cellular telephone service have technical capabilities that allow them to collect and generate at

least two kinds of information about the locations of the cellular telephones to which they provide

service: (l) E-91I Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-

site data, also known as "tower/face information" or cell tower/sector records. E-91 I Phase II data

provides relatively precise location information about the cellular telephone itself, either via GPS

tracking technology built into the phone or by triangulating on the device's signal using data from

several of the provider's cell towers. Cell-site data identifies the "cell towers" (i.e., antenna towers

covering specific geographic areas) that received a radio signal from the cellular telephone and, in


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some cases, the "sector" (i.e., faces of the towers) to which the telephone connected. These towers

are often a half-mile or more apart, even in urban areas, and can be l0 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call

made to or from that device. Accordingly, cell-site data is typically less precise that E-911 Phase

II data.

                                        Manner of Execution

           94. In my training and experience, I have learned that cellular phones and other cellular
devices communicate wirelessly across a network of cellular infrastructure, including towers that

route and connect individual communications. When sending or receiving a communication, a

cellular device broadcasts certain signals to the cellular tower that is routing its communication.

These signals include a cellular device's unique identifiers.

           95. To facilitate execution of these warrants, law enforcement may use an investigative
device or devices capable of broadcasting signals that will be received by the Subject Telephones

or receiving signals from cellular devices, including the Subject Telephones. Such a device may

function in some respects like a cellular tower, except that it will not be connected to the cellular

network and cannot be used by a cell phone to communicate with others. The device may send a

signal to the Subject Telephones and thereby prompt it to send signals that include the unique

identifier of the device. Law enforcement may monitor the signals broadcast by the Subject

Telephones and use that information to determine the Subject Telephones' location, even if they

are located inside a house, apartment, or other building. The device will not intercept the contents

of the Subject Telephones' communications, such as telephone calls, text messages, and other

electronic communications. Further, the device will not collect any other data stored on the




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Subject Telephones, including e-mails, text messages, contact lists, images, or Global Positioning

System (GPS) data.

        96. The investigative device may interrupt cellular service of phones or other cellular
devices within its range. Any service disruption to non-target devices will be brief and temporary,

and all operations will attempt to limit the interference with such devices. In order to connect with

the Subject Telephones, the device may briefly exchange signals with all phones or other cellular

devices in its range. These signals may include cell phone identifiers. The device will not complete

a connection with cellular devices determined not to be the Subject Telephones, and law

enforcement will limit collection of information from devices other than the Subject Telephones.

To the extent that any information from a cellular device other than the Subject Telephones is

collected by the law enforcement device, law enforcement will delete that information, and law

enforcement will make no investigative use of it absent further order of the court, other than

distinguishing the Subject Telephones from all other cellular devices.

                                      Authorization Request

        97.     Based on the foregoing, I request that the Court issue the proposed warrants,

pursuant to l8 U.S.C. $ 2703(c) and Federal Rule of Criminal Procedure 41. The proposed warrants

also will function as pen register orders under l8 U.S.C. $ 3123. The information obtained pursuant

to these warrants will be used to locate BARNES and HILL forpurposes of executingthe arrest

warrants.

       98.      I furtherrequest, pursuant to l8 U.S.C. $ 3103a(b) and Federal Rule of Criminal

Procedure 4l (0(3), that the Court authorize the officer executing the warrants to delay notice until

30 days after the collection authorized by the warrant has been completed. There is reasonable

cause to believe that providing immediate notification of the warrants may have an adverse result,




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as defined in 18 U.S.C. $ 2705. Providing immediate notice to the subscribers or users of the

Subject Telephones would seriously jeopardize the ongoing investigation, as such a disclosure

would give that person an opportunity to destroy evidence, change patterns of behavior, notifu

confederates, and flee from prosecution. See 18 U.S.C. $ 3103a(b)(l). As further specified in

Attachments B-l and B-2, which is incorporated into the warrants, the proposed search warrants

do not authorize the seizure of any tangible property. See 18 U.S.C. $ 3 l03a(b)(2). Moreover, to

the extent that the warrants authorize the seizure of any wire or electronic communication (as

defined in 18 U.S.C. $ 2510) or any stored wire or electronic information, there is reasonable

necessity for the seizure for the reasons set forth above. See l8 U.S.C. $ 3103a(b)(2).

           99. I further request that the Court authorize execution of the warrants at any time of
day or night, owing to the potential need to locate the Subject Telephones outside of daytime

hours.

           100. A search warrant may not be legally necessary to compel the investigative technique
described herein. Nevertheless, I hereby submit this warrant application out of an abundance of

caution.



                                                     submitted,




                                        Special Agent
                                        Bureau of Alcohol, Tobacco, Firearms and Explosives


Sworn to before me this    1b^rof August, 2023. a/ tln ty7,r{, CT

                                                             sd6_
                                                      THE HON. S. DAVE VATTI
                                                      UNITED STATES MAGISTRATE JUDGE



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                                   ATTACHMENT A-1


  1. This warrant authorizes the use of the electronic investigative technique described in
     Attachment B-l to identify the location of the cellular device assigned phone number 475-

     321-1036, whose wireless provider is Cellco Partnership dlbla Yerizon Wireless, and

     whose listed subscriber is Roderick Hill.




                                            A-l



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                                       ATTACHMBNT B-1


        Pursuant to an investigation of Antwan HILL, a.k.a. "Bandz," other Exit 8 gang members,

and others still unknown or not yet fully identified, for violations of the Title 18, United States

Code, Section 1962(d) and 1963(a) (Racketeering Conspiracy); Title 18, United States Code,

Section 1959(a)(3), 1959(a)(5) and 1959(aX6) (VCAR Assault with a Dangerous Weapon, VCAR

Attempted Assault with a Dangerous Weapon, and VCAR Attempted Murder); and Title 21,

United States Code, Section $$ 8al(a)(l),841(bX1XB),841(bXl)(C), and 846 (Conspiracy to

Distribute and to Possess with lntent to Distribute Fentanyl and Cocaine) (hereafter referred to as

the "Target Offenses"), this Warrant authorizes the officers to whom it is directed to determine the

location of the cellular device identified in Attachment A-1 by collecting and examining:


             l. radio signals emitted by Subject Telephone I for the purpose of
                communicating with cellular infrastructure, including towers that

                route and connect individual communications; and


            2. radio signals emitted by the Subject Telephone I in response to radio
                signals sent to the cellular device by the officers;


for a period of thirry days, during all times of day and night. This warrant does not authorize the

interception of any telephone calls, text messages, other electronic communications, and this

warrant prohibits the seizure of any tangible property. The Court finds reasonable necessity for

the use of the technique authorized above. See I 8 U.S.C. g 3 l03a(b)(2).




                                                B-l




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                                  ATTACHMENT A-2


  1. This warrant authorizes the use of the electronic investigative technique described in
     Attachment B-2 to identify the location of the cellular device assigned phone number 203-

     434-5964, whose wireless provider is AT&T, and whose listed subscriber is Nyzaire

     BARNES.




                                           A-2




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                                       ATTACHMENT B-2


       Pursuant to an investigation of Nyzaire BARNES, a.k.a. "Melo," other Exit 8 gang

members, and others still unknown or not yet fully identified, for violations of the Title 18, United

States Code, Section 1962(d) and 1963(a) (Racketeering Conspiracy); Title 18, United States

Code, Section 1959(a)(3), 1959(a)(5) and 1959(aX6) (VCAR Assault with a Dangerous Weapon,

VCAR Attempted Assault with a Dangerous Weapon, and VCAR Attempted Murder); and Title

21, United States Code, Section $$ 841(aXl),841(bxl)(B), 841(bxl)(C), and 846 (Conspiracy to

Distribute and to Possess with Intent to Distribute Fentanyl and Cocaine) (hereafter referred to as

the "Target Offenses"), this Warrant authorizes the officers to whom it is directed to determine the

location of the cellular device identified in Attachment A-2 by collecting and examining:


         l.    radio signals emitted by Subject Telephone 2 for the purpose of

               communicating with cellular infrastructure, including towers that route

               and connect individual communications; and


         2     radio signals emitted by the Subject Telephone 2 in response to radio

               signals sent to the cellular device by the officers;


for a period of thirty days, during all times of day and night. This warrant does not authorize the

interception of any telephone calls, text messages, other electronic communications, and this

warrant prohibits the seizure of any tangible property. The Court finds reasonable necessity for

the use of the technique authorized above. See 18 U.S.C. g 3103a(b)(2).




                                                 B-2




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